Case 2:92-cv-02062-.]PI\/|-tmp Document 2001 Filed 06/21/05 Page 1 of 4 Page 9663
Fll.ED BY __ w D.C.

IN THE UNITED sTATEs DISTRICT COURT 05 JuN 21 AH 6= w
FoR THE WESTERN DISTRICT oF TENNESSEE mm
WESTERN DIVISION 'Y,EB§§Y §§ ober er.

W.D. OF TN, MEMPH!S

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 92-2062 D A
v.
STATE OF TENNESSEE, et al.,

Defendants,
PEOPLE FIRST OF TENNESSEE,
PARENT-GUARDIAN ASSOCIATION
OF ARLINGTON DEVELOPMENTAL CENTER,

Intervenors.

 

ORDER DIRECT[NG CLERK TO DISBURSE FUNDS

 

Pursuant to this Court’s Orders entered May 31, 2005, Defendant State of Tennessee was
directed to pay a total of $150,558.58 for expenses incurred in February and March 2005 by the
Court Monitor, Dr. Nancy K. Ray. It appears that Defendant has paid said amount into the Registry
of the Court as so ordered. The Clerk of Court is therefore directed to disburse the sum of
$150,558.58, previously placed in the Registry of the Court, to NKR & Associates, lnc., 318

Delaware Avenue, Delmar, New York 12054.

IT IS SO ORDERED this 92£2 'P"day of Ju.ne, 2005.

 

Thfs document entered on the dock tshset In compliance
w|th Flule 58 and/or 79(a) FFlCF’ on 22 2 |“QE) 020§/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2001 in
case 2:92-CV-02062 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

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Honorable Bernice Donald
US DlSTRlCT COURT

